                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


JOHN HUBER, in his individual capacity
and as Personal Representative of the
ESTATE OF ANTHONY HUBER
            Plaintiffs,

       v.                                                 Case No. 21-C-0969

DAVID G. BETH, in his individual and
official capacity as Kenosha County Sheriff,
et al.,
             Defendants.


                  ORDER FOLLOWING SCHEDULING CONFERENCE

       On May 5, 2023, the court held a scheduling conference in accordance with Fed.

R. Civ. P. 16 and Civil L. R. 16(a) (E.D. Wis.).

       IT IS ORDERED that:

       1.      The parties shall comply with Fed. R. Civ. P. 26(a)(1) concerning initial

disclosures by June 20, 2023.

       2.      The deadline for plaintiff to join additional parties and amend pleadings is

December 12, 2023. The deadline for defendants to join parties and amend pleadings is

February 12, 2024.

       3.      All requests for fact discovery shall be served by a date sufficiently early so

that all fact discovery in this case can be completed no later than April 12, 2024.

       4.      Plaintiff shall disclose any expert witnesses consistent with Rule 26(a)(2)

on or before May 13, 2024. Defendants shall disclose any expert witnesses consistent

with Rule 26(a)(2) on or before July 29, 2024. Plaintiff shall disclose any rebuttal expert




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reports on or before August 29, 2024. Expert discovery shall close on September 30,

2024.

        5.      a.    Any discovery motions brought pursuant to Rules 26 through 37 of

the Federal Rules of Civil Procedure must comply with Civil L.R. 37, by including

        a written certification by the movant that, after the movant in good faith has
        conferred or attempted to confer with the person or party failing to make
        disclosure or discovery in an effort to obtain it without court action, the
        parties are unable to reach an accord. The statement must recite the date
        and time of the conference or conferences and the names of all parties
        participating in the conference or conferences.

                b.    All discovery motions and non-dispositive pretrial motions must be

filed pursuant to Civil L.R. 7(h), unless the court otherwise permits. The motion must not

exceed three pages in length. No separate memorandum may be filed with the motion,

and any supporting affidavit allowed by Civil L.R. 7(h) must not exceed two pages. An

opposing memorandum, which must not exceed three pages in length, may be filed within

seven days of service of the motion. The court will notify the parties of the date and time

for a hearing on the motion, if the court deems it necessary.

        6.      a.    Any dispositive motions must be served and filed on or before

October 30, 2024.

                b.    All summary judgment motions and briefing thereon must comply

with Civil L.R. 7 and 56(b). Any summary judgment motion filed against a pro se litigant

must comply with Civil L.R. 56(a).

        7.      The court expects counsel to confer and make a good faith effort to settle

the case.

        The foregoing schedule shall not be modified except upon a showing of good

cause and by leave of the court.


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SO ORDERED at Milwaukee, Wisconsin, this 5th day of May, 2023.




                               /s/Lynn Adelman
                               LYNN ADELMAN
                               District Judge




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